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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

  UNITED STATES OF AMERICA

  v.                                             Case No. 2:17-cr-99-FtM-38CM

  WILLIAM PIERCE

                         UNITED STATES’ MOTION
                        FOR ORDER OF FORFEITURE

        Pursuant to 18 U.S.C. § 982(a)(7), and Rule 32.2(b)(2) of the Federal

  Rules of Criminal Procedure, the United States of America moves for an

  Order of Forfeiture in the amount of $803,007.25, representing the amount of

  fraudulent proceeds the defendant obtained from his participation in

  conspiracy to pay healthcare kickbacks affecting a Federal health care benefit

  program, as charged in the Information.

        In accordance with Rule 32.2(b)(4) and his plea agreement (Doc. 11 at

  10), the United States asks that the order of forfeiture become final at the time

  it is entered. In support, the United States submits the following

  memorandum of law.

                           MEMORANDUM OF LAW

  I.    Statement of Facts

        A.     Allegations Against the Defendant

        1.     The defendant was charged in an Information with one count of
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  conspiracy to pay healthcare kickbacks, in violation of 18 U.S.C. § 371. Doc.

  2.

        2.     The forfeiture allegations in the Information notified the

  defendant that, pursuant to 18 U.S.C. § 982(a)(7), the United States was

  seeking forfeiture of any property, real or personal, which constitutes or is

  derived from proceeds traceable to the offense, including at least $803,007.25,

  which represents the proceeds of the offense. Id., at 8.

        B.     Finding of Guilt and Admissions of Fact

        3.     On August 30, 2017, the defendant pleaded guilty to Count One

  of the Information pursuant to a written plea agreement and United States

  Magistrate Judge Carol Mirando recommended that his plea be accepted.

  Docs. 9, 13. On August 31, 2017, United States District Court Judge Sheri

  Polster Chappell accepted his plea and adjudicated him guilty. Doc. 15.

  The Court scheduled the defendant’s sentencing for March 5, 2018. Id.

        4.     In his plea agreement (Doc. 11 at 20-24), Pierce agreed to forfeit

  the $803,007.25 in proceeds he obtained as a result of the conspiracy to pay

  healthcare kickbacks affecting a Federal health care benefit program offense as

  charged in Count One.

        C.     Admissions Related to Forfeiture

        5.     In his plea agreement, the defendant admitted and agreed that,

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  pursuant to 18 U.S.C. § 982(a)(7), the United States is entitled to an Order of

  Forfeiture, representing the amount of proceeds the defendant obtained as a

  result of the conspiracy to pay healthcare kickbacks charged in Count One.1

  Doc. 11 at 9. Moreover, the defendant agreed that the United States is

  entitled to forfeit any of the defendant’s property as substitute assets to satisfy

  the order of forfeiture, and that the order of forfeiture would be final as to the

  defendant upon entry. Id., at 10.

  II.    Applicable Law

         A.     Forfeiture Statute

         The United States may criminally forfeit, pursuant to 18 U.S.C. §

  982(a)(7), any property, real or personal, which constitutes or is derived,

  directly or indirectly, from gross proceeds traceable to a conspiracy (18 U.S.C.

  § 371) to offer and pay remunerations (including any kickbacks), (42 U.S.C. §

  1320a-7b(b)(2)(B)), for which payments are made in whole or in part under a

  Federal health care program.

         B.     Court’s Determination of Forfeiture

         Rule 32.2, Federal Rules of Criminal Procedure, governs the criminal

  forfeiture of property based on a defendant=s conviction for the offense giving


  1
    The United States agreed not to collect any amount in excess of $803,007.25,
  collectively from both the defendant and or unnamed co-conspirator, with
  respect to Count One.
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  rise to the forfeiture. Rule 32.2(b)(1) requires that as soon as practical after a

  verdict or finding of guilty, or after a plea of guilty is accepted, the Court must

  determine what property is subject to forfeiture under the applicable statute.

  Fed. R. Crim. P. 32.2(b)(1)(A). The Court’s determination may be based on

  evidence already in the record, or any additional evidence submitted by the

  parties and accepted by the Court as relevant and reliable. Fed. R. Crim. P.

  32.2(b)(1)(B).

        Because the United States could not locate the specific property

  constituting or derived from the fraudulent proceeds involved in, or traceable

  to, the defendant’s participation in the conspiracy to pay healthcare kickbacks,

  the United States seeks an order of forfeiture against the defendant in the

  amount of $803,007.25, pursuant to Federal Rule of Criminal Procedure

  32.2(b)(2). As the defendant has agreed, he obtained $803,007.25 in

  fraudulent proceeds as a result of, his participation in the conspiracy to pay

  healthcare kickbacks. If the Court finds that at least $803,007.25 in

  fraudulent proceeds was involved in, or traceable to, the defendant’s

  participation in the conspiracy to pay healthcare kickbacks and that the

  defendant has dissipated those proceeds, then it is appropriate for the Court to

  enter an order of forfeiture against the defendant in that amount pursuant to

  Rule 32.2(b)(2).

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  III.   Conclusion

         For the reasons stated above, the United States requests that the Court,

  pursuant to 18 U.S.C. § 982(a)(7), and Rule 32.2(b)(2), Federal Rules of

  Criminal Procedure, enter an Order of Forfeiture against the defendant in the

  amount of $803,007.25, for which he will be held liable.

         As required by Federal Rule of Criminal Procedure 32.2(b)(4)(B), the

  United States requests that the Court include the forfeiture when orally

  pronouncing the sentence and include the forfeiture order, directly or by

  reference, in the judgment. See Fed. R. Crim. P. 32.2(b)(4)(A) and (B).

         Finally, the United States further requests that the Court retain

  jurisdiction to address any third party claim that may be asserted in these

  proceedings, to enter any further order necessary for the forfeiture and




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  disposition of such property, and to order any substitute assets forfeited to the

  United States up to the amount of the order of forfeiture.

                                               Respectfully Submitted,

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                                               Acting United States Attorney


                                     By:       s/James A. Muench
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                          CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2017, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which

  will send a notice of electronic filing to counsel of record.


                                           s/James A. Muench
                                           JAMES A. MUENCH
                                           Assistant United States Attorney




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